




Opinion filed July 31, 2008











 
  
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Opinion filed July 31,
2008

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&nbsp;&nbsp;&nbsp; Eleventh
Court of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ____________

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; __________

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JOSEPH ARBIN GASKINS, III, Appellant

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; V.

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OF TEXAS, Appellee

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
Appeal from the 142nd District Court

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Midland
County, Texas

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Trial
Court Cause No. CR28558

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E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Joseph
Arbin Gaskins, III, appellant, pleaded guilty to the state jail felony offense
of burglary of a building.&nbsp; The trial court deferred adjudication of guilt and
placed appellant on community supervision for five years.&nbsp; The trial court
extended the term of appellant=s
community supervision on three occasions.&nbsp; The State filed a motion and an
amended motion to revoke appellant=s
community supervision and to proceed with an adjudication of appellant=s guilt.&nbsp; Appellant pleaded
true to all of the State=s
allegations.&nbsp; The trial court found that appellant had violated the terms and
conditions of his community supervision, revoked his community supervision,
adjudicated his guilt, and imposed a sentence of confinement for two years and
a fine of $500.&nbsp; We affirm.








In
his sole issue on appeal, appellant contends that the sentence imposed is
disproportionate to the gravity of the offense under both U.S. Const. amend. VIII and Tex. Const. art. I, ' 13. Appellant did not
raise the issue of a disproportionate sentence in the trial court.&nbsp; Appellant=s failure to object in the
trial court to the alleged disproportionate sentence waived any error.&nbsp; Wynn
v. State, 219 S.W.3d 54, 61 (Tex. App.CHouston
[1st Dist.] 2006, no pet.); Solis v. State, 945 S.W.2d 300, 301 (Tex.
App.CHouston [1st
Dist.] 1997, pet. ref=d).&nbsp;
However, even absent waiver, we conclude that appellant=s sentence was not grossly disproportionate to
the offense.

The
legislature is vested with the power to define crimes and prescribe penalties.&nbsp;
See State ex rel. Smith v. Blackwell, 500 S.W.2d 97, 104 (Tex. Crim.
App. 1973); Simmons v. State, 944 S.W.2d 11, 15 (Tex. App.CTyler 1996, pet. ref=d); Davis v. State,
905 S.W.2d 655, 664 (Tex. App.CTexarkana
1995, pet. ref=d).&nbsp; As
a general rule, punishment is not cruel and unusual if it falls within the range
of punishment established by the legislature.&nbsp; Jackson v. State, 680
S.W.2d 809, 814 (Tex. Crim. App. 1984); Dale v. State, 170 S.W.3d 797,
799 (Tex. App.CFort
Worth 2005, no pet.); Rodriguez v.
State, 71 S.W.3d 778, 779 (Tex. App.CTexarkana
2002, no pet.).&nbsp; A narrow exception to this rule is recognized where the
sentence is grossly disproportionate to the offense.&nbsp; Harmelin v. Michigan,
501 U.S. 957 (1991); Solem v. Helm, 463 U.S. 277, 290-91 (1983); Dale,
170 S.W.3d at 799.&nbsp; A[O]utside
the context of capital punishment, successful challenges to the
proportionality of particular sentences [will be] exceedingly rare.@&nbsp; Solem, 463 U.S. at
289-90 (quoting Rummel v. Estelle, 445 U.S. 263, 272 (1980)).








Solem
had suggested that, in determining the proportionality of a sentence, appellate
courts could consider three factors: (1) the gravity of the offense compared
with the harshness of the penalty; (2) the sentences imposed for similar crimes
in the same jurisdiction; and (3) the sentences imposed for commission of the
same crime in other jurisdictions.&nbsp; Solem, 463 U.S. at 292.&nbsp; In light of
Harmelin, the test in Solem appears to have been reformulated as
an initial threshold comparison of the gravity of the offense with the severity
of the sentence.&nbsp; Then, if that initial comparison created an inference that
the sentence was grossly disproportionate to the offense, an appellate court
should consider the other two Solem factors: (1) sentences for similar
crimes in the same jurisdiction and (2) sentences for the same crime in other
jurisdictions.&nbsp; See McGruder v. Puckett, 954 F.2d 313, 316 (5th Cir.
1992); Mullins v. State, 208 S.W.3d 469, 470 (Tex. App.CTexarkana 2006, no pet.); Lackey
v. State, 881 S.W.2d 418, 420-21 (Tex. App.CDallas
1994, pet. ref=d).

In
this case, appellant committed a state jail felony offense of burglary of a
building.&nbsp; The punishment for a state jail felony offense is Aconfinement in a state jail
for any term of not more than two years or less than 180 days.@&nbsp; Tex. Penal Code Ann. '
12.35(a) (Vernon 2003).&nbsp; In addition, the punishment may also include Aa fine not to exceed
$10,000.@&nbsp; Tex. Penal Code Ann. '&nbsp;12.35(b) (Vernon
2003).&nbsp; Appellant=s
sentence of two years and a fine of $500 falls within the range of punishment
established by the legislature.&nbsp; Appellant committed the offense of burglary of
a habitation the day before he committed the offense in this case.&nbsp; Appellant
pleaded guilty to that offense.&nbsp; In view of the facts that appellant pleaded
guilty to the offense in this case, that appellant failed numerous times to
comply with the terms and conditions of his community supervision, and that
appellant committed the offense of burglary of a habitation, we cannot say that
appellant=s sentence
was grossly disproportionate.&nbsp; We overrule appellant=s issue.

We
affirm the judgment of the trial court.

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TERRY McCALL

JUSTICE

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July 31, 2008

Do not publish.&nbsp; See Tex. R. App. P. 47.2(b).

Panel consists of:&nbsp; Wright, C.J.,

McCall, J., and Strange, J.





